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       Of Attorneys for Defendant




                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,
                                                    Case No. 3:14-cr-00282-Kl-2
                      Plaintiff,
                                                    PETITION TO ENTER PLEA OF
      v.                                            GUilTY, CERTIFICATE OF
                                                    COUNSEL, AND ORDER
KYLE KEOKI YAMAGUCHI,                               ENTERING PLEA

                      Defendant.


      The defendant represents to the court:

       1.       My name is Kyle Yamaguchi. I am 33 years old. I have gone to school up

to and including graduation from a four-year university.

      2.        My attorney is Celia Howes.

       3.       My attorney and I have discussed my case fully. I have received a copy of

the Indictment or Information. I have read the Indictment or Information, or it has been

read to me, and I have discussed it with my attorney. My attorney has counseled and

advised me concerning the nature of each charge, any lesser-included offense(s), and

the possible defenses that I might have in this case.         I have been advised and




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understand that the elements of the charge(s) alleged against me to which I am

pleading "GUilTY" are as follows:

                Count 1 of the Indictment charges Conspiracy to Transport,
                Receive and Sell Stolen Goods, in violation of 18 U.S.C.
                371, the elements of which are:

                (1)    The defendant agreed with one other person to
                transport, receive and sell stolen goods;

                (2)    With intent to transport, receive and sell stolen goods,
                the defendant caused stolen shoes to be shipped from
                Portland, Oregon to a buyer in the State of Florida.

I have had a full and adequate opportunity to disclose to my attorney all facts known to

me that relate to my case. I understand that the Court may ask whether I am satisfied

with the advice I have received from my attorney.

       4.       I know that if I plead "GUilTY," I will have to answer any questions that

the judge asks me about the offense(s) to which I am pleading guilty. I also know that if

I answer falsely, under oath, and in the presence of my attorney, my answers could be

used against me in a prosecution for perjury or false statement.

       5.       I am not under the influence of alcohol or drugs. I am not suffering from

any injury, illness or disability affecting my thinking or my ability to reason except as

follows:    None    . I have not taken any drugs or medications within the past seven (7)

days except as follows: None.

       6.       I understand that conviction of a crime can result in consequences in

addition to imprisonment. Such consequences include deportation, or removal from the

United States, or denial of naturalization, if I am not a United States citizen; loss of

eligibility to receive federal benefits; loss of certain civil rights (which may be temporary

or permanent depending on applicable state or federal law), such as the right to vote, to


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hold public office, and to possess a firearm; and loss of the privilege to engage in

certain occupations licensed by the state or federal government.

       7.       I know that I may plead "NOT GUilTY" to any crime charged against me

and that I may persist in that plea if it has already been made. I know that if I plead

"NOT GUilTY" the Constitution guarantees me:

                a.    The right to a speedy and public trial by jury, during
                which I will be presumed to be innocent unless and until I am
                proven guilty by the government beyond a reasonable doubt
                and by the unanimous vote of twelve jurors;

                b.    The right to have the assistance of an attorney at all
                stages of the proceedings;

                c.     The right to use the power and process of the court to
                compel the production of evidence, including the attendance
                of witnesses in my favor;

                d.    The right to see, hear, confront, and cross-examine all
                witnesses called to testify against me;

                e.    The right to decide for myself whether to take the
                witness stand and testify, and if I decide not to take the
                witness stand, I understand that no inference of guilt may be
                drawn from this decision; and

                f.     The right not to be compelled to incriminate myself.

       8.       I know that if I plead "GUilTY" there will be no trial before either a judge or

a jury, and that I will not be able to appeal from the judge's denial of any pretrial motions

I may have filed concerning matters or issues not related to the court's jurisdiction.

       9.       In this case I am pleading "GUILTY" under Rule 11(c)(1)(B). My attorney

has explained the effect of my plea under Rule 11 (c)(1 )(B) to be as follows:




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              My plea of guilty is under Rule 11 (c)(1 )(B); therefore,
              although the judge will consider the recommendations and
              agreements of both the prosecution and defense attorneys
              concerning sentencing, the judge is not obligated to follow
              those recommendations or agreements.          If the judge
              imposes a sentence different from what I expected to receive
              under the terms of my Plea Agreement with the prosecutor, I
              do not have a right to withdraw my plea.

        10.   I know the maximum sentence which can be imposed upon me for the

crime(s) to which I am pleading guilty is 5 years imprisonment and a fine of $250,000.

also know there is no mandatory minimum sentence.

        11.   I know that the judge, in addition to any other penalty, will order a special

assessment as provided by law in the amount of $100 per count of conviction.

        12.   I know that if I am ordered to pay a fine, and I willfully refuse to pay that

fine, I can be returned to court, where the amount of the unpaid balance owed on the

fine can be substantially increased by the judge and I can be imprisoned for up to one

year.

        13.   My attorney has discussed with me the Federal Sentencing Guidelines. I

know that the Guidelines are advisory, not mandatory.        I also know the sentencing

judge, in determining the particular sentence to be imposed, must consider those

factors set forth in Title 18, United States Code, Section 3553(a), including but not

limited to: the nature and circumstances of the offense, my own history and

characteristics, the goals of sentencing (punishment, deterrence, protection and

rehabilitation) and the sentencing range established by the advisory Guidelines. If my

attorney or any other person has calculated a guideline range for me, I know that this is

only a prediction and advisory and that it is the judge who makes the final decision as to

what the guideline range is and what sentence will be imposed.         I also know that a


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judge may not impose a sentence greater than the maximum sentence referred to in

paragraph (10) above.

       14.    I know from discussion with my attorney that, under the Federal

Sentencing Guidelines, if I am sentenced to prison I am not entitled to parole. I will

have to serve the full sentence imposed except for any credit for good behavior that I

earn. I can earn credit for good behavior in prison at a rate of up to 54 days for each

year of imprisonment served. Credit for good behavior does not apply to a sentence of

one year or less.

       15.    I know that if I am sentenced to prison, the judge will impose a term of

supervised release to follow the prison sentence. During my supervised release term I

will be supervised by a probation officer according to terms and conditions set by the

judge. In my case, a term of supervised release can be up to 3 years. If I violate the

conditions of supervised release, I may be sent back to prison for up to 1 year.

       16.    I know that in addition to or in lieu of any other penalty, the judge can

order restitution payments to any victim of any offense to which I plead guilty. I am also

informed that, for certain crimes of violence and crimes involving fraud or deceit, it is

mandatory that the judge impose restitution in the full amount of any financial loss or

harm caused by an offense. If imposed, the victim can use the order of restitution to

obtain a civil judgment lien. A restitution order can be enforced by the United States for

up to twenty (20) years from the date of my release from imprisonment, or, if I am not

imprisoned, twenty (20) years from the date of the entry of judgment. If I willfully refuse

to pay restitution as ordered, a judge may resentence me to any sentence which could

originally have been imposed.



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         17.   On any fine or restitution in an amount of $2,500 or more, I know that I will

be required to pay interest unless that fine or restitution is paid within fifteen (15) days

from the date of the entry of judgment.

         18.   If I am on probation, parole, or supervised release in any other state or

federal case, I know that by pleading guilty in this court my probation, parole or

supervised release may be revoked and I may be required to serve time in that case,

which may be consecutive, that is, in addition to any sentence imposed on me in this

court.

         19.   If I have another case pending in any state or federal court, I know that my

Petition and Plea Agreement in this case do not, in the absence of an express and

written agreement, apply to my other case(s), and that I can be faced with consecutive

sentences of imprisonment.

         20.   My plea of "GUilTY" is based on a Plea Agreement that I have made with

the prosecutor. That Plea Agreement is attached hereto and incorporated herein. I

have read or had read to me the Plea Agreement, and I understand the Plea

Agreement.

         21.   The Plea Agreement contains the only agreement between the United

States government and me. No officer or agent of any branch of government (federal,

state or local) or anyone else has promised or suggested that I will receive a lesser term

of imprisonment, or probation, or any other form of leniency if I plead "GUilTY" except

as stated in the Plea Agreement. I understand that I cannot rely on any promise or

suggestion made to me by a government agent or officer which is not stated in writing in




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the Plea Agreement, or which is not presented to the judge in my presence in open

court at the time of the entry of my plea of guilty.

       22.    My plea of "GUilTY" is not the result of force, threat, or intimidation.

       23.    I hereby request that the judge accept my plea of "GUilTY" to the

following count(s):   Count 1 charging a Conspiracy to Transport, Receive, and Sell

Stolen Goods, in violation of 18 USC 371.

       24.    I know that the judge must be satisfied that a crime occurred and that I

committed that crime before my plea of "GUilTY" can be accepted. With respect to the

charge(s) to which I am pleading guilty, I represent that I did the following acts and that

the following facts are true:

                      On or about April 25, 2013, in consideration for a cash

              payment of $62,000, in the District of Oregon, I agreed with

              another person to ship 42 pairs of Nike shoes, which I knew

              to be stolen, to a buyer in Florida.

       25.    I offer my plea
                            ,.---
                                  of "GUilTY" freely and voluntarily and of my own accord

and with a full understanding of the allegations set forth in the Indictment or Information,

and with a full understanding of the statements set forth in this Petition and in the

Certificate of my attorney that is attached to this Petition.

II I




                                                                                  HOEVET BOISE OLSON HOWES
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                SIGNED by me in the presence of my attorney, after reading (or having

had read to me) all of the foregoing pages and paragraphs of this Petition on this..!.!:?.__

day of   P€t-e~f!e-<'-   , 2014.




                                                                                 HOEVET BOISE OLSON HOWES
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                              CERTIFICATE OF COUNSEL

       The undersigned, as attorney for defendant Kyle Yamaguchi hereby certifies:

       1.       I have fully explained to the defendant the allegations contained in the

Indictment or Information in this case, any lesser-included offense(s), and the possible

defenses which may apply in this case.

       2.       I have personally examined the attached Petition To Enter Plea of Guilty

And Order Entering Plea, explained all its provisions to the defendant, and discussed

fully with the defendant all matters described and referred to in the Petition.

       3.       I have explained to the defendant the maximum penalty and other

consequences of entering a plea of guilty described in paragraphs (6)-(20) of the

Petition, and I have also explained to the defendant the applicable Federal Sentencing

Guidelines.

       4.       I recommend that the Court accept the defendant's plea of "GUilTY."

       SIGNED by me in the presence of the above-named defendant, and after full

discussion with the defendant of the contents of the Petition To Enter Plea of Guilty, and

any Plea Agreement, on this     l LcJ%ay of ~1(2014.
                                                                                     J

                                                 Celia Howes, OSB #033450
                                                 Attorney for Defendant




                                                                                  HOEVET BOISE OLSON HOWES
Page 9 - CERTIFICATE OF COUNSEL                                                       ATTORNEYS AT LAW
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                                 ORDER ENTERING PLEA

       I find that the defendant's plea of GUilTY has been made freely and voluntarily

and not out of ignorance, fear, inadvertence, or coercion. I further find the defendant

has admitted facts that prove each of the necessary elements of the crime(s) to which

the defendant has pied guilty.

       IT IS THEREFORE ORDERED that the defendant's plea of GUilTY be accepted

and entered as requested in this Petition and as recommended in the Certificate of

                '4
defendant's attorney.

      DATEDthis~ Ve.-c:_                     , 2014, in open court.




                                                                            HOEVET BOISE OLSON HOWES
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